798 F.2d 1408Unpublished Disposition
    NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.Dennis L. FARLEY, Appellant,v.W. Joseph McCOY, Commissioner of West Virginia Department ofCorrections;  Manfred Holland, Warden;  B.C.Clutter, Deputy Warden;  Ed Meyers,Prison Investigator, Appellee.
    No. 86-7160.
    United States Court of Appeals, Fourth Circuit.
    Submitted June 30, 1986..Decided Aug. 11, 1986.
    
      Dennis L. Farley, appellant pro se.
      Michael Froble, Office of the Atty. Gen., for appellees.
      N.D.W.Va.
      AFFIRMED.
      Before RUSSELL and WILKINSON, C.J., and BUTZNER, Senior C.J.
      PER CURIAM:
    
    
      1
      Dennis L. Farley, a West Virginia inmate, appeals the district court order dismissing his civil rights claim.  The district court referred Farley's case to a magistrate pursuant to 28 U.S.C.  S 636(b) (1) (B).  After conducting an evidentiary hearing, the magistrate filed a report recommending that Farley's claim be dismissed.  Farley was notified that he had 13 days in which to file objections to the magistrate's report.  See 28 U.S.C. S 636(b) (1) (C).  He failed to file timely objections, and the district court accepted the magistrate's report and recommendation.
    
    
      2
      This Court has held that the failure to file timely objections to a magistrate's report waives appellate review of the substance of that report where the parties have been warned that failure to object will waive appellate review.  Wright v. Collins, 766 F.2d 841 (4th Cir. 1985);  Carr v. Hutto;  737 F.2d 433 (4th Cir. 1984);  cert. denied, ---U.S. ----, 54 U.S.L.W. 3392 (Dec. 9, 1985).  The use of this procedure was recently upheld by the Supreme Court in Thomas v. Arn, U.S., 54 U.S.L.W.  4032 (Dec. 4, 1985).  As Farley was properly warned, and yet failed to file objections, he has waived his right to appellate review.
    
    
      3
      Because the dispositive issues recently have been decided authoritatively, we dispense with oral argument and affirm the district court's judgment.
    
    
      4
      AFFIRMED.
    
    